Petition for Change of Designation of Judgeship No. 1, 2001 ND 1 , 621 N.W.2d 148|N.D. Supreme Court|Petition for Change of Designation of Judgeship No. 1, 2001 ND 1 , 621 N.W.2d 148[Go to Documents]Filed Jan. 3, 2001IN THE SUPREME COURTSTATE OF NORTH DAKOTA2001 ND 1In the Matter of the Petition for Change of Designation of Resident District Court Judgeship No. 1 with Chambers in Dickinson, North Dakota, Southwest Judicial District, to Chambers at Bowman, North Dakota, Southwest Judicial DistrictNo. 20000362ORDER OF DENIAL.[¶1] On December 22, 2000, the Honorable Zane Anderson, Judge of the District Court, Southwest Judicial District, filed a Petition for Change of Designation of Resident District Court Judgeship Chamber under N.D. Sup. Ct. Admin. R. 7.1(2), requesting the Supreme Court to change the designation of District Court Judgeship No. 1, with chambers in Dickinson, North Dakota, to chambers in Bowman, North Dakota. Included with the Petition was a Brief in Support discussing the criteria for redesignation under N.D. Sup. Ct. Admin. Rule 7.1(4).[¶2] In September 1999, this Court had occasion to receive and review testimony on judicial service needs, population and caseload trends, and other criteria identified in N.D. Sup. Ct. Admin. R. 7.2, Section 4, regarding several judgeships, including Judgeship Nos. 1 and 5, in the Southwest Judicial District. See Supreme Court Nos. 990224 and 990249. This review and the associated consultations were conducted to assist this Court in identifying an existing district judgeship to be abolished to satisfy the required reduction in the number of judges by January 1, 2001. Judgeship No. 5, with chambers in Bowman, North Dakota, Southwest Judicial District, was abolished by Order dated December 2, 1999, and effective December 31, 2000. See In the Matter of the Consultation under N.D.C.C. Section 27-05-02.1 Regarding Judgeship Nos. 6 and 7 in the Northeast Judicial District; Judgeship No. 2 in the Northeast Central Judicial District; Judgeship Nos. 6, 7 and 8 in the Northwest Judicial District; Judgeship Nos. 4 and 9 in the South Central Judicial District; and Judgeship Nos. 1, 3, and 5 in the Southwest Judicial District, 1999 ND 226, 603 N.W.2d 57.[¶3] A hearing was not conducted concerning this Petition for Change of Designation of Resident District Court Judgeship Chamber for Judgeship No. 1. However, we take judicial notice of the information contained in Supreme Court Nos. 990224 and 990249, including the information resulting from the consultation with judges and lawyers of the Southwest Judicial District.[¶4] We have reviewed whether the redesignation of the chambers is warranted in light of the information received in the Petition. In view of the 1999 hearing and data received, the Court finds no compelling reason to transfer the chambers from Dickinson to Bowman.[¶5] IT IS THEREFORE ORDERED, that the Petition for Change of Designation of Resident District Court Judgeship No. 1, with chambers in Dickinson, North Dakota, Southwest Judicial District, is DENIED.[¶6] Dated at Bismarck, North Dakota, January 3, 2001.[¶7]Gerald W. VandeWalle, C.J.William A. NeumannDale V. SandstromMary Muehlen MaringCarol Ronning Kapsner